                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                 No. 5:13-CV-527-F

 U.S. TOBACCO INC., U.S FLUE-                 )
 CURED TOBACCO GROWERS, INC.,                 )
 and BIG SOUTH DISTRIBUTION, LLC,             )
                                              )
                                              )
                      Plaintiffs,             )
                                              )
                                              )
                                              )                      ORDER
                     V.                       )
                                              )
 BIG SOUTH WHOLESALE OF                       )
 VIRGINIA, LLC, d/b/a BIG SKY                 )
 INTERNATIONAL, BIG SOUTH                     )
 WHOLESALE, LLC, UNIVERSAL                    )
 SERVICES FIRST CONSULTING, a/k/a             )
 UNIVERSAL SERVICES CONSULTING                )
 GROUP, JASON CARPENTER,                      )
 CHRISTOPHER SMALL, EMORY                     )
 STEPHEN DANIEL, and other unnamed            )
 co-conspirators,                             )
                                              )
                          Defendants.         )

       This matter came before the court on Tuesday, November 19, 2013, for a hearing on

Emergency Motion to Seal [DE-15] filed by Defendants Big South Wholesale ofVirginia LLC, d/b/a

Big Sky International, Big South Wholesale, LLC, Jason Carpenter, and Christopher Small

(collectively, "Big Sky Defendants"). Present for the Big Sky Defendants were Gavin B. Parsons

and Alan D. Mathis. Plaintiffs were represented by Thomas A. Farrand Kimberly J. Lehman.

Defendants Emory Stephen Daniel and Universal Services First Consulting, a/k/a Universal Services

Consulting Group were represented by W. Sidney Aldridge. This orders memorializes and clarifies

rulings made during the hearing.




         Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 1 of 12
                                      I. MOTION TO SEAL

       In the Motion to Seal, the Big Sky Defendants request the following relief: (1) to seal the

entire Complaint [DE-l] in this action or in the alternative, to order that a redacted version of the

Complaint be substituted in its place for public use; (2) to temporarily seal or restrict public access

to the Complaint during the consideration of the Motion to Seal; (3) to seal the memorandum [DE-

14] filed in support of the Motion to Seal, including all attachments and exhibits; (4) seal any

subsequent briefs of submissions filed with respect to Motion to Seal, and (5) order that any future

filings in this case containing certain confidential information be sealed or redacted. The court,

consistent with the practice of this district, directed the Clerk of Court to maintain the Complaint

under temporary seal pending the court's decision on the merits of the Motion to Seal. Thus, only

the remaining four requests for relief remain pending.

A. Standard of Review

       The Fourth Circuit has directed that prior to sealing judicial records, a district court must first

determine the source of the public's right to access the judicial records: the common law or the First

Amendment. Stone v. Univ. ofMd, 855 F.2d 178,180 (4th Cir. 1988). Ifthe common law right of

access to judicial records applies, there is a presumption of public access to judicial records, which

can only be rebutted if countervailing interests outweigh the public's interest in access. Rushford

v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988). "Some of the factors to be weighed

in the common law balancing test 'include whether the records are sought for improper purposes,

such as promoting public scandals or unfairly gaining a business advantage; whether release would

enhance the public's understanding of an important historic event; and whether the public already

had access to the information contained in the records."' Virginia Dep 't of State Police v.


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         Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 2 of 12
Washington Post, 386 F.3d 567, 575 (4th Cir. 2004) (quoting In re Knight Pub!. Co., 743 F.2d 231,

235 (4th Cir. 1984)).

        Where the First Amendment guarantees access to judicial records, such access "may be

denied only on the basis of a compelling governmental interest, and only if the denial is narrowly

tailored to serve that interest." Stone, 855 F.2d at 180. "The burden to overcome a First Amendment

right of access rests on the party seeking to restrict access, and that party must present specific

reasons in support of its position." Virginia Dep 't ofState Police, 386 F.3d at 575. As some courts

have observed, however, there is difficulty in applying the First Amendment access analysis in the

context of a civil case involving nongovernmental litigants. See, e.g., Haas v. Golding Transp., Inc.,

No. 1:09-CV-1016, 2010 WL 1257990, *7 n.4 (M.D.N.C. March 26, 2010). Indeed, the District

Court for the Middle District of North Carolina aptly questioned:

       [I]n the context of a civil case involving nongovernmental litigants ... how does one
       define or discern a 'governmental interest?' Does the government have an interest in
       the vindication of an individual's right to personal privacy or a business's right to
       freedom from unfair competitive advantage?

!d. Of course, one response to these questions may be, no, the government does not have any interest

in any of these rights, and consequently, most records filed by a nongovernmental litigant in a civil

case will not be sealed where the First Amendment is the source of access. Other courts, however,

"have addressed this conundrum by substituting the notion of 'higher value' for 'governmental

interest' in" the context of civil litigation involving private litigants. !d. (citing Level 3 Comms., LLC

v. Limelight Networks, Inc., 611 F. Supp. 2d 572,580-83 (E.D.Va. 2009) (discussing cases that cited

right to privacy, property rights in trade secrets, privilege against disclosure of attorney-client

communications, and duties created by contract as 'private' interests that might overcome a First



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          Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 3 of 12
Amendment right of access)). In an unpublished per curiam opinion, the Fourth Circuit has ruled that

a district court could have closed a courtroom during a trial and sealed portions of the record to

protect trade secrets. Woven Elec. Corp. v. Advance Grp., Inc., 903 F.2d 913, 1991 WL 54118, at

*6--7 (4th Cir. April15, 1991) (citing In re Iowa Freedom ofInfo. Council, 724 F.2d 658,661 (8th

Cir.1983)). Although the Fourth Circuit did not directly address the "governmental interest" issue,

its opinion in Woven Electric does suggest that under the right circumstances, certain "higher values"

can overcome the First Amendment right of access.

        In weighing the competing interests between the presumption of access and the asserted

reason for sealing, a court must comply with the procedure set forth by In re Knight Publishing

Company. First, a court must give the public notice of a request to seal and a reasonable opportunity

to challenge it. 743 F.2d at 235. Although individual notice is not necessary, a court must notify

persons present in the courtroom of the request, or docket it "reasonably in advance of deciding the

issue." Id.   A court must consider less drastic alternatives to sealing, and if it decides to seal

documents, it must "state the reasons for its decision to seal supported by specific findings, and the

reasons for rejecting alternatives to sealing in order to provide an adequate record for review." Id.

B. Discussion

        Here, the materials sought to be sealed by the Blue Sky Defendants include (1) the entirety

of the original Complaint; (2) the memorandum [DE-14] filed in support of the Motion to Seal,

including all attachments and exhibits, and (3) all subsequent briefs and attachments that have been

filed with the respect to the Motion to Seal.

        With respect to these requests, the procedural requirements of In re Knight Publishing

Company have been satisfied. The Blue Sky Defendants' Motion to Seal [DE-15] has been docketed


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          Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 4 of 12
since August 8, 2013, and the court held a hearing on the motion on November 19, 2013. No third

parties or members of the press have attempted to file an objection to the motion to seal, nor did any

other party attend the hearing to voice an objection. Accordingly, the court will consider the merits

ofthe same. 1

        The court must first determine whether the common law right of access and/or the First

Amendment right of access attaches to the documents at issue. Cases from within the Fourth Circuit

indicate that only the common law right of access, as opposed to the First Amendment right of

access, attaches to a complaint. See American Civil Liberties Union v. Holder, 652 F. Supp. 2d 654,

662 (E.D. Va. 2009) (determining that a qui tam complaint filed in camera and under seal does not

adjudicate substantive rights or serve as a substitute for trial, and therefor no First Amendment right

of access attaches). As to the parties' respective briefing and attachments regarding the Motion to

Seal, these too constitute judicial records to which the common law presumption of access applies.

See In reApplication of United States for an Order Pursuant to 18 US. C. Section 2703(d), 707 F.3d

283, 290 (4th Cir. 2013) (explaining that "judicial records" are "documents filed with the court [that]

play a role in the adjudicative process, or adjudicate substantive rights" and observing that the

common law presumption of access attaches to "judicial records"). Moreover, there is no indication,

based on the parties' briefings and the court's own research, that the First Amendment provides a

right of access to the documents at issue here.

        Because the common law presumption of access attaches to Complaint and the documents

filed in association with the Motion to Seal, the public has a qualified right of access to these judicial


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  Plaintiffs' Motion for Leave to file a Sur-Reply [DE-27] and Motion for Leave to Supplement [DE-33] is
ALLOWED, and the court has considered those additional materials in assessing the merits of the Motion
to Seal.

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          Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 5 of 12
records. This common law presumption of access may be overcome if "there is a 'significant

countervailing interest" in support of sealing that outweighs the public's interest in openness. In re

Application, 707 F.3d at 293. The court finds that the Blue Sky Defendants have met their burden

here. Specifically, the Blue Sky Defendants have proffered evidence tending to show that certain

information contained the Complaint could subject certain individuals to physical harm and/or

harassment. The court finds that these individual's interest in their safety outweighs the public's

interest in access to the Complaint and the materials submitted in connection with the Motion to

Seal. See Dish Network L.L.C. v. Sonicview USA, Inc., No. 09-CV-1553 L(NLS), 2009 WL

2224596, at *7 (S.D. Cal. July 23, 2009) (finding that protecting the identities of individuals who

had served as confidential informants, and thereby protecting them from being subjected to threats

of physical harm, outweighed the presumption of access to court records).

       The court does not find, however, that the entirety of the Complaint needs to be sealed. See

Sensormatic Sec. Corp. v. Sensormatic Electronics Corp., 455 F. Supp. 2d 399,437 (D. Md. 2006)

("[T]he court should consider less-drastic alternatives, such as filing redacted versions of the

documents."). Rather, the court finds that the Complaint may be redacted to omit the information

which may subject certain individuals to physical harm. At the hearing in this matter, the court

provided counsel for the parties with its proposed redactions. The parties agreed that the redactions

serve the purpose of omitting from public view the offending information, while still offering access

to the vast majority of the Complaint in a manner which leaves the pleading still understandable.

Accordingly, Plaintiffs are ORDERED to file a redacted version of the Original Complaint [DE-l]




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         Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 6 of 12
within two weeks of the filing date of this order. 2

        As to the materials submitted in connection with the Motion to Seal, the court agrees with

the Blue Sky Defendants that almost all of these materials set forth in great detail (1) the identities

of the individuals who may be subject to physical harm and (2) the confidential information, the

disclosure of which would subject these individuals to harm. Moreover, the court finds that the vast

majority of these filings cannot be redacted in any meaningful way. Accordingly, the Clerk of Court

is DIRECTED to maintain the following filings under SEAL:

        •        the Memorandum in Support of the Emergency Motion to Seal and attached
                 Declarations [DE-14; DE-14-1; DE-14-2]

        •        Plaintiffs' Memorandum in Response to Motion to Seal and the attachments thereto
                 [DE-21; DE-21-1; DE-21-2; DE-21-3]

        •        the Reply in Support of the Motion to Seal and the attachments thereto [DE-26; DE-
                 26-1; DE-26-2; DE-26-3; DE-26-4; DE-26-5]

        •        the Motion for Leave to File a Sur-Reply [DE-27] and Memorandum in Support [DE-
                 28];

        •        the Sur-Reply [DE-3] and certain attachments thereto [DE-30-1; DE-30-2; DE-30-3;
                 DE-30-6· DE-30-7· DE-30-8· DE-30-9]·
                          '        '         '           '
        •        the Motion for Leave to Supplement Plaintiffs Opposition to Defendants' Motion
                 to Seal and attachment thereto [DE-33; DE-33-1] and Memorandum in Support [DE-
                 34]

        •        the Response in Opposition to Plaintiffs' Motions for Leave to File a Sur-Reply and
                 for Leave to Supplement [DE-35]


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   As the court rules and explains below, Plaintiffs will be filing a redacted Amended Complaint, to which
all Defendants must file a responsive pleading or motion. The previous Answers, Counterclaim, and Reply
to Counterclaim filed by the parties are therefore no longer the operative pleading in this action. Although
the court could order the parties to file redacted versions of those pleadings, the court finds that to do so
would be an exercise in futility, especially considering that the court will not be issuing any ruling which will
be based on those pleadings. The Clerk of Court is instead DIRECTED to maintain Answer [DE-23], Reply
[DE-23]-in addition to the Original Complaint [DE-I)-under SEAL.

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            Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 7 of 12
The court does not perceive, however, that either Docket Entry 14-3, or Docket Entry 35-1, which

both contain unpublished opinions, needs to be sealed. The Clerk of Court is therefore DIRECTED

to unseal those filings.

        Additionally, the court does not perceive that the following attachments to the Sur-Reply

must be maintained under seal, especially considering that these documents go to the heart of the

parties' claims and/or defenses in this action: (1) the Asset Purchase Agreement [DE-30-4]; (2) the

Certificate of Assumed or Fictitious Name [DE-30-5]; (3) the Employment Agreement [DE-30-10],

(4) and the Consulting and Compensation Agreement [DE-30-11]. Nevertheless, because the court

did not explicitly discuss those documents with the parties at the hearing, and out of an abundance

of caution, those documents will continue to be maintained under seal for a period of fourteen days.

If any party wishes to file an objection to the unsealing of or any of the other documents the court

has determined do not need to be sealed, the party may file a notice of objection/supporting

memorandum. If no such objection and supporting memorandum is filed during that time period,

the Clerk of Court is DIRECTED to unseal those documents.

C. Future Filings

        The Blue Sky Defendants also request that this court order that any future filings in this case

containing certain confidential information be sealed or redacted. The court expressed its preference

at the hearing to be able to do just that. The court and the parties recognized, however, that under

binding Fourth Circuit precedent and the applicable Local Rules, the court cannot issue rulings

preemptively allowing sealing or redaction. Instead, if the parties believe that certain information in

future filings should not be publicly available, the parties must file a motion to seal in accordance



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          Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 8 of 12
with the applicable Local Rules and the CM/ECF Policy Manual. See Local Civil Rule 79.2;

Electronic Case Filing Administrative Policies and Procedures Manual, § T.

        The court urges the parties, however, to confer in good faith prior to the filing of any motions

to seal and attempt to agree on the appropriate redactions to be made. The court is confident based

on the parties' stated intention at the hearing to cooperate with each other that such agreement is

possible.

        Additionally, counsel for Plaintiffs expressed during the course of the hearing his belief that

the parties are not required to respond to a motion, which is also the subject of the motion to seal,

until the court rules on the motion to seal. This is not the case. The applicable time periods for filing

responses to motions for relief apply, regardless of whether the court has ruled on the motion to seal

the pertinent motion for relief.

II. MOTION FOR JUDGMENT ON THE PLEADINGS AND MOTION FOR LEAVE TO
                   FILE AN AMENDED COMPLAINT

        The parties also discussed at the hearing the pending Motion for Judgment on the Pleadings

[DE-37] and Motion for Leave to File an Amended Complaint [DE-51]. Counsel for all the

Defendants stated, on the record, that Defendants consent to the filing of the Amended Complaint.

See Fed. R. Civ. P. 15(a)(2) ("[A] party may amend its pleading only with the opposing's party

written consent or with the court's leave."). Although this oral consent technically does not satisfy

Rule 15(a)(2), which requires written consent, the court finds that the Defendants' oral consent

suffices to allow this court to find that justice requires the Motion for Leave [DE-51] be ALLOWED.

See id. (providing "[t]he court should freely give leave when justice so requires").

        Additionally, Plaintiffs' Motion to Seal [DE-50] the proposed Amended Complaint is



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            Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 9 of 12
ALLOWED for the reasons stated by the court with regard to the Defendants' Motion to Seal [DE-

15]. 3 Plaintiffs are DIRECTED to file an Amended Complaint, with redactions corresponding to

those suggested by the court with regard to the Original Complaint, within two weeks of the filing

date of this order. Upon the Plaintiffs' filing of the redacted Amended Complaint, Defendants have

the normal time under the rules to file an appropriate response or pleading.

       The parties expressed at the hearing that the Blue Sky Defendants' Motion for Judgment on

the Pleadings [DE-37] is now moot and it is accordingly DENIED as such.             The Blue Sky

Defendants' Motion to Seal [DE-54] the filings associated with the Motion for Judgment on the

Pleadings [DE-54] is therefore also DENIED as moot.

                                       III. CONCLUSION

       For the foregoing reasons, the Emergency Motion to Seal [DE-15] is ALLOWED in part; the

Motion to File a Sur-Reply [DE-27] and Motion to Supplement [DE-33] are ALLOWED; the Motion

for Leave to File the First Amended Complaint [DE-51] and Motion to Seal [DE-50] are

ALLOWED, and the Motion for Judgment on the Pleadings [DE-37] and Motion to Seal [DE-54]

are DENIED as moot. Additionally, the proposed sealed Motion [DE-41] is DENIED as moot in

light of the court's ruling in its November 4, 2013, Order [DE-46].

       The Clerk of Court is DIRECTED to maintain the following filings under seal:

       •       the Original Complaint [DE-l];
       •       the Memorandum in Support of the Emergency Motion to Seal and attached
               Declarations [DE-14; DE-14-1; DE-14-2];
       •       Plaintiffs' Memorandum in Response to Motion to Seal and the attachments thereto
               [DE-21· DE-21-I· DE-21-2· DE-21-3]·
                       '        '        '         '
       •       the Blue Sky Defendants' Answer to Complaint and Counterclaim [DE-23];


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  Additionally, the Clerk of Court is DIRECTED to maintain the unredacted proposed Amended Complaint
[DE-49] under SEAL.

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           Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 10 of 12
       •       the Reply in Support of the Motion to Seal and the attachments thereto [DE-26; DE-
               26-1· DE-26-2· DE-26-3· DE-26-4· DE-26-5]·
                    '          '         '         '         '
       •       the Motion for Leave to File a Sur-Reply [DE-27] and Memorandum in Support [DE-
               28];
       •       the Sur-Reply [DE-3] and certain attachments thereto [DE-30-1; DE-30-2; DE-30-3;
               DE-30-6· DE-30-7· DE-30-8· DE-30-9]·
                         '        '           '         '
       •       the Answer to the Counterclaim [DE-32];
       •       the Motion for Leave to Supplement Plaintiff's Opposition to Defendants' Motion
               to Seal and attachment thereto [DE-33; DE-33-1] and Memorandum in Support [DE-
               34];
       •       the Response in Opposition to Plaintiffs' Motions for Leave to File a Sur-Reply and
               for Leave to Supplement [DE-35]; and
       •       the proposed Amended Complaint [DE-49].

       Additionally, the Clerk of Court is DIRECTED to maintain the following materials under

seal for a period of fourteen days:


       •       the Asset Purchase Agreement [DE-30-4];
       •       the Certificate of Assumed or Fictitious Name [DE-30-5];
       •       the Employment Agreement [DE-30-10], and
       •       the Consulting and Compensation Agreement [DE-30-11]

If any party has an objection to the unsealing of those documents, they must file an objection and

supporting memorandum. Otherwise, if no objection/supporting memorandum is filed within that

time period, the Clerk of Court is DIRECTED to unseal those materials.


       Finally, it is FURTHER 0 RD ERED that Plaintiffs, within two weeks of the filing date ofthis

order, file: (1) a publicly-available copy of the Original Complaint with the redactions agreed upon

at the hearing, and (2) file publicly-available copy of the Amended Complaint with redactions

corresponding to those suggested by the court with regard to the Original Complaint.



       SO ORDERED.



                                                11



           Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 11 of 12
            Jr
This the 1.. J day ofNovember, 2013.



                                            enior United States District Judge




                                       12



  Case 5:13-cv-00527-BO Document 56 Filed 11/21/13 Page 12 of 12
